














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1567-06





WILLIAM RONALD HOLLANDER, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE NINTH COURT OF APPEALS

MONTGOMERY COUNTY




	Per curiam.  KEASLER and HERVEY, JJ., dissent.


ORDER


	The petition for discretionary review violates Rules of Appellate Procedure 9.3 and
68.5, because the original petition is not accompanied by 11 copies and grounds and
reasons for review are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Filed: February 28, 2007  

Do Not Publish


